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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

NAUTILUS INSURANCE COMPANY,
                        Plaintiff,
                v.                                      CIVIL ACTION NO. 20-1607

 MOTEL MANAGEMENT SERVICES,
 INC., d/b/a NESHAMINY INN, et al.,
                        Defendants.

                                            ORDER

       AND NOW, this 9th day of September 2021, upon consideration of Plaintiff Nautilus

Insurance Company’s Motion for Judgment on the Pleadings, Defendant Insureds Motion for

Judgment on the Pleadings, the responses and replies thereto, and for the reasons stated in the

accompanying memorandum, it is hereby ORDERED that Plaintiff’s Motion for Judgment on

the Pleadings [Doc. No. 31] is GRANTED and Defendant’s Motion for Judgment on the

Pleadings [Doc. No. 32] is DENIED.

       Judgment in favor of Nautilus Insurance Company and against the Defendants is hereby

entered declaring that Nautilus Insurance Company owes no duty to defend or indemnify Motel

Management Services, Inc. d/b/a Neshaminy Inn, The Mary Etzrodt Real Estate Trust and NI45,

LLC in either of the underlying actions, G.D. v. Knights Inn of Trevose, et al., Court of Common

Pleas, Philadelphia County, Pennsylvania, No. 191202631, and N.Z. v. v. Knights Inn of Trevose,

et al., Court of Common Pleas, Philadelphia County, Pennsylvania, No. 191202642.

       It is so ORDERED.

                                                         BY THE COURT:

                                                         /s/ Cynthia M. Rufe
                                                         _____________________
                                                         CYNTHIA M. RUFE, J.
